                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                              No. 17-CR-3026-LRR

 vs.
                                                         REPORT AND
 MATTHEW VANCE QUERY,                                 RECOMMENDATION

                Defendant.
                             ___________________________

         On August 10, 2017, the above-named defendant Matthew Vance Query, by
consent (Doc. 34), appeared before the undersigned United States Magistrate Judge
pursuant to Federal Rule of Criminal Procedure 11, and entered a plea of guilty to Count
1 of the Indictment (Doc. 3f). After cautioning and examining the defendant under oath
concerning each of the subjects mentioned in Rule 11, the court determined that the guilty
plea was knowledgeable and voluntary, and the offense charged was supported by an
independent basis in fact containing each of the essential elements of the offense. The
court therefore RECOMMENDS that the plea of guilty be accepted and the defendant
be adjudged guilty.
         At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if he answered any questions falsely, he could be prosecuted for
perjury or for making a false statement. He also was advised that in any such prosecution,
the Government could use against him any statements he made under oath.
         The court asked a number of questions to ensure the defendant=s mental capacity
to enter a plea. The defendant stated his full name, his age, and the extent of his
schooling. The court inquired into the defendant=s history of mental illness and addiction
to narcotic drugs. The court further inquired into whether the defendant was under the
influence of any drug, medication, or alcoholic beverage at the time of the plea hearing.


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From this inquiry, the court determined that the defendant was not suffering from any
mental disability that would impair his ability to make knowing, intelligent, and voluntary
pleas of guilty to the charges.
       The defendant acknowledged that he had received a copy of the Indictment, and
he had fully discussed these charges with his attorney.
       The court determined that the defendant was pleading guilty under a plea
agreement with the Government.       After confirming that a copy of the written plea
agreement was in front of the defendant and his attorney, the court determined that the
defendant understood the terms of the plea agreement. The court summarized the plea
agreement, and made certain the defendant understood its terms.
       The court explained to the defendant that because the plea agreement provided for
dismissal of charges if he pleaded guilty, a presentence report would be prepared and a
district judge would consider whether or not to accept the plea agreement. If the district
judge decided to reject the plea agreement, then the defendant would have an opportunity
to withdraw his pleas of guilty and change them to not guilty.
       The defendant was advised also that after his plea was accepted, he would have no
right to withdraw the plea at a later date, even if the sentence imposed was different from
what the defendant or his counsel anticipated.
       The court summarized the charge against the defendant, and listed the elements of
the crime. The court determined that the defendant understood each and every element
of the crime, and the defendant=s counsel confirmed that the defendant understood each
and every element of the crime charged.
       The court elicited a full and complete factual basis for all elements of the crimes
charged in each Count of the Indictment to which the defendant was pleading guilty.
       The court advised the defendant of the consequences of his plea, including the
maximum fine, the maximum term of imprisonment, the mandatory minimum term of

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imprisonment, the possibility that forfeiture could be ordered, and term of supervised
release.
       With respect to Count 1, the defendant was advised that the maximum fine is
$10,000,000; the maximum term of imprisonment is life; the mandatory minimum term
of imprisonment is 10 years; the maximum period of supervised release is life; and the
minimum period of supervised release is five years.
       The defendant also was advised that the court is obligated to impose a special
assessment of $100.00, which the defendant must pay. The defendant also was advised
of the collateral consequences of a plea of guilty. The defendant acknowledged that he
understood all of the above consequences.
       The court explained supervised release to the defendant, and advised him that a
term of supervised release would be imposed in addition to the sentence of imprisonment.
The defendant was advised that there are conditions of supervised release, and that if he
were found to have violated a condition of supervised release, then his term of supervised
release could be revoked and he could be required to serve in prison all or part of the
term of supervised release without credit for time previously served on supervised
release.
       The court also explained to the defendant that the district judge would determine
the appropriate sentence for him at the sentencing hearing. The defendant confirmed that
he understood the court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to
challenge. The defendant acknowledged that he understood the sentence imposed might
be different from what his attorney had estimated. The defendant also was advised that




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both he and the Government would have the right to appeal the sentence. The defendant
was advised that parole has been abolished.
       The defendant indicated he had conferred fully with his counsel and he was fully
satisfied with his counsel. The defendant=s attorney indicated that there is a factual basis
for the guilty plea.
       The defendant was advised fully of his right to plead not guilty, or having already
entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;
       2.     The right to a speedy, public trial;
       3.     The right to have his case tried by a jury selected from a cross-section of
              the community;
       4.     That he would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the Government could prove each and
              every element of the offense beyond a reasonable doubt;
       5.     That the Government could call witnesses into court, but the defendant=s
              attorney would have the right to confront and cross-examine these
              witnesses;
       6.     That the defendant would have the right to see and hear all witnesses
              presented at trial;
       7.     That the defendant would have the right to subpoena defense witnesses to
              testify at the trial, and if he could not afford to pay the fees and costs of
              bringing these witnesses to court, then the Government would be required
              to pay those fees and costs;
       8.     That the defendant would have the privilege against self-incrimination; i.e.,
              he could choose to testify at trial, but he need not do so, and if he chose not
              to testify, then the court would instruct the jury that the defendant had a
              constitutional right not to testify;
       9.     That any verdict by the jury would have to be unanimous;

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      10.    That he would have the right to appeal, and if he could not afford an
             attorney for the appeal, then the Government would pay the costs of an
             attorney to prepare the appeal.
      The defendant also was advised of the rights he would waive by entering a plea of
guilty. The defendant was told there would be no trial, he would waive all the trial rights
just described, and he would be adjudged guilty without any further proceedings except
for sentencing.
      The defendant confirmed that his decision to plead guilty was voluntary and was
not the result of any promises other than plea agreement promises; no one had promised
him what the sentence would be; and his decision to plead guilty was not the result of
any threats, force, or anyone pressuring him to plead guilty.
      The defendant confirmed that he still wished to plead guilty, and he pleaded guilty
to Count 1 of the Indictment.
      The court finds the following with respect to the defendant=s guilty plea:
      1.     The guilty plea is voluntary, knowing, not the result of force, threats or
             promises, except plea agreement promises, and the defendant is fully
             competent.
      2.     The defendant is aware of the maximum punishment.
      3.     The defendant knows his jury rights.
      4.     The defendant has voluntarily waived his jury rights.
      5.     There is a factual basis for the plea.
      6.     The defendant is, in fact, guilty of the crime to which he is pleading guilty.
      The defendant was advised that a written presentence investigation report would
be prepared to assist the court in sentencing. The defendant was told that he and his
counsel would have an opportunity to read the presentence report before the sentencing


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hearing and to object to the contents of the report, and he and his counsel would be
afforded the opportunity to present evidence and be heard at the sentencing hearing.
       Pursuant to Federal Rule of Criminal Procedure 32.2(b)(1), the court made a
finding that the Government has established the requisite nexus between defendant's
offense and the property described in the Indictment=s forfeiture allegation.
       The defendant was advised that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar him from
attacking this court=s Report and Recommendation, which recommends that the assigned
United States District Judge accept the defendant=s plea of guilty. Defendant was advised
that he may waive any right to file written objections to this Report and Recommendation
by filing a written waiver form.           The AWaiver of Objections to Report and
Recommendation@ form is available on the Court=s web page.
       United States v. Cortez-Hernandez, 2016 WL 7174114 (8th Cir. 2016) (per
curiam), suggests that a defendant may have the right to de novo review of a magistrate
judge=s recommendation to accept a plea of guilty even if no objection is filed. But see
28 U.S.C. ' 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will undertake
a de novo review of the Report and Recommendation if a written request for such review
is filed within fourteen (14) days after this order is filed.
       DONE AND ENTERED at Cedar Rapids, Iowa, this 14th day of August, 2017.



                                           __________________________________
                                           C.J. Williams
                                           Chief United States Magistrate Judge
                                           Northern District of Iowa




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